
PER CURIAM.
Sears, Roebuck &amp; Company, via' these two consolidated interlocutory appeals, seeks to set aside a default judgment entered against it. Being unsuccessful in the trial court, it appeals and presents seven points. We have considered each in the light of argument and all appellate advices. As much as we are dedicated to the proposition that where possible issues should be adjudicated upon the merits, we are unable to find legal error or any basis for reversal. Service of process was, in fact, made and it had actual notice of the proceedings. The complaints of Sears are either lacking in merit or else of some small moment as to constitute harmless error.
Affirmed.
OWEN, C. J., and WALDEN and MA-GER, JJ., concur.
